AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Eastern District of New York


LIANG YANG, Individually and on behalf of all others                )
               similarly situated                                   )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No.
                                                                    )
TRUST FOR ADVISED PORTFOLIOS, INFINITY Q CAPITAL
MANAGEMENT, LLC, CHRISTOPHER E. KASHMERICK, JOHN C.                 )
CHRYSTAL, ALBERT J. DIULIO, S.J., HARRY E. RESIS, RUSSELL           )
B. SIMON, LEONARD POTTER, and JAMES VELISSARIS
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Phillip Kim, Esq.
                                           THE ROSEN LAW FIRM, P.A.
                                           275 Madison Avenue, 40th Floor
                                           New York, NY 10016
                                           Telephone: (212) 686-1060
                                           pkim@rosenlegal.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
            Defendant                             Address
TRUST FOR ADVISED PORTFOLIOS     615 East Michigan Street
                                 Milwaukee, WI 53202

INFINITY Q CAPITAL MANAGEMENT,   888 7th Avenue, Suite 3700
LLC                              New York, NY 10106

CHRISTOPHER E. KASHMERICK        615 East Michigan Street
                                 Milwaukee, WI 53202

JOHN C. CHRYSTAL                 615 East Michigan Street
                                 Milwaukee, WI 53202

ALBERT J. DIULIO S.J.            615 East Michigan Street
                                 Milwaukee, WI 53202

HARRY E. RESIS                   615 East Michigan Street
                                 Milwaukee, WI 53202

RUSSELL B. SIMON                 615 East Michigan Street
                                 Milwaukee, WI 53202

LEONARD POTTER                   888 7th Avenue, Suite 3700
                                 New York, NY 10106

JAMES VELISSARIS                 888 7th Avenue, Suite 3700
                                 New York, NY 10106
